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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:06:CR:147
v.
                                                      HON. GORDON J. QUIST
CHRISTOPHER ALAN FYFFE,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed September 1, 2006,

is approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Christopher Alan Fyffe's plea of guilty to Count One of the Indictment is

accepted. Defendant Christopher Alan Fyffe is adjudicated guilty and bond will be revoked at the

time of reporting.

       3.      Defendant Christopher Alan Fyffe shall report to the United States Marshal in Grand

Rapids, Michigan, at 2:00 PM, Tuesday, October 3, 2006. Defendant Christopher Alan Fyffe shall

be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: September 18, 2006                                   /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
